05-60200-cgm     Doc 6295      Filed 10/12/07 Entered 10/12/07 14:16:17              Main Document
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  1    CAMPEAU GOODSELL SMITH, L.C.                     Case Name: CALPINE CORPORATION
  2    WILLIAM J. HEALY, #146158
       440 N. 1st Street, Suite 100                     Case No.: 05-60200 (BRL)
  3    San Jose, California 95112
       TEL. (408) 295-9555
  4    FAX. (408)295-6606

  5                              UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF NEW YORK
  6
                                         CERTIFICATE OF SERVICE
  7
              I declare that I am employed in the County of Santa Clara, California; I am over the age of 18
  8   years, and not a party to the within entitled cause; my address is 440 N. 1st Street, Suite 100, San Jose,
      California 95112.
  9
             On October 12, 2007, I served a copy of:
 10
 11   1. RESPONSE OF ROBERT MEMBRENO, TRUSTEE OF SAI TRUST TO DEBTORS’
      TWENTY SECOND OMNIBUS OBJECTION TO PROOFS OF CLAIMS, EQUITY
 12   INTEREST CLAIMS, UNLIQUIDATED CLAIMS, ANTICIPATORY CLAIMS, CLAIMS
      TO BE ADJUSTED AND WRONG DEBTOR CLAIMS TO BE ADJUSTED;
 13   2. DECLARATION OF WILLIAM J HEALY RE RESPONSE TO TWENTY SECOND
      OBJECTION;
 14   3. REQUEST FOR JUDICIAL NOTICE RE RESPONSE TO TWENTY SECOND
      OBJECTION; AND
 15   4. CERTIFICATE OF SERVICE

 16   BY MAIL OR AS OTHERWISE NOTED, by placing a true copy thereof enclosed in a sealed
      envelope addressed to:
 17
      Kirkland & Ellis LLP
 18   Citigroup Center
      153 E. 53rd Street
 19   New York, NY 10022
      Attn: Helen C. Huang
 20         Brian S. Lennon

 21   Paul K. Schwartzberg
      Office of the U.S. Trustee
 22   33 Whitehall Street, 21st Floor
      New York, NY 10004
 23
             I am familiar with the firm's practice for collecting and processing of correspondence for
 24   mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day
      with postage thereon fully prepaid at San Jose, California, in the ordinary course of business. I am
 25   aware that on motion of the party served, service is presumed invalid if postal cancellation date or
      postage meter date is more than one day after the date of deposit for mailing in affidavit.
 26
              I declare under penalty of perjury, under the laws of California, that the foregoing is true and
 27   correct.
              Executed on October 12, 2007, at San Jose, California.
 28
                                                             /s/ William J. Healy
                                                             William J. Healy
